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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JANE DOE 3,                             )
                                        )
Plaintiff,                              )
                                        )
v.                                      ) CIVIL ACTION NO. 1:19-cv-03843-WMR
                                        )
ESSEX, LLC; et al.,                     )
                                        )
Defendants.                             )
                                        )

             NOTICE OF VIDEO DEPOSITION OF JOY VALERIO

TO: Ms. Joy Valerio
    c/o Michael Baumrind
    BONDURANT, MIXSON & ELMORE, LLP
    1201 West Peachtree Road N.W.
    Suite 3900
    Atlanta, GA 30309

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 30, Defendants

Extended Stay America, Inc., ESA Management, LLC, and HVM, L.L.C.

(hereinafter “ESA Defendants”) will take the deposition of witness JOY VALERIO

for purposes of discovery, cross-examination of a witness, and all other purposes

allowable under the Federal Rules of Civil Procedure on Friday, January 13, 2023,

beginning at 10:00 a.m. EDT at the Brunswick-Glynn County Public Library,

located at 208 Gloucester Street, Brunswick, GA 31520, Meeting Room 2.


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      The deposition shall be taken by a Certified Court Reporter duly authorized

by law to administer oaths and transcribe testimony and recorded on video.

      According to Fed. R. Civ. P. 30(d)(1), “[t]he court must allow additional time

consistent with Rule 26(b)(1) and (2) if needed to fairly examine the deponent or if

the deponent, another person, or any other circumstance impedes or delays the

examination.” The ESA Defendants specifically reserve the right to further depose

Joy Valerio. If the deposition is not completed on the date indicated, it shall continue

from day to day and time to time thereafter until completed.

          Respectfully submitted this 10th day of January, 2023.

                                                    WEINBERG, WHEELER, HUDGINS,
                                                    GUNN & DIAL, LLC

                                                    /s/ Patrick Moore
                                                    Patrick B. Moore
                                                    GA Bar No. 520390
           3344 Peachtree Rd NE, Suite              Christopher T. Byrd
           2400Atlanta, GA 30326                    Georgia Bar No. 100854
           Telephone: (404) 876-2700                Shubhra R. Mashelkar
           Facsimile: (404) 875-9433                GA Bar No. 475388
           pmoore@wwhgd.com                         Sarah J. Unatin
           cbyrd@wwhgd.com                          GA Bar No. 953061
           smashelkar@wwhgd.com
           sunatin@wwhgd.com                        Counsel for Defendants




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 CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 5.1 AND 7.1D

      Pursuant to Local Rules 5.1 and 7.1D of the United States District Court of

the Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, prepared with a top margin of not

less than one and one-half inches and a left margin of not less than one inch, double-

spaced between lines, and used Times New Roman font of 14-point size.

Dated: January 10, 2023.

                                              /s/ Patrick Moore
                                              Patrick B. Moore




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of

Deposition of Joy Valerio has been electronically filed/served with the Court via the

Clerk’s electronic filing system, which will automatically notify all counsel of

record.

 John E. Floyd                               Patrick J. McDonough
 Tiana S. Mykkeltvedt                        Jonathan S. Tonge
 Manoj S. Varghese                           ANDERSEN, TATE & CARR, P.C.
 Amanda Kay Seals                            One Sugarloaf Centre
 Michael R. Baumrind                         1960 Satellite Boulevard
 Amanda Bradley                              Suite 4000
 BONDURANT, MIXSON & ELMORE, LLP             Duluth, GA 30097
 1201 West Peachtree Road N.W.               pmcdonough@atclawfirm.com
 Suite 3900                                  jtonge@atclawfirm.com
 Atlanta, GA 30309                           Counsel for Plaintiff
 Floyd@bmelaw.com
 mykketlvedt@bmelaw.com
 Varghese@bmelaw.com
 seals@bmelaw.com
 baumrind@bmelaw.com
 bradley@bmelaw.com
 Counsel for Plaintiff

      Respectfully submitted this 10th day of January, 2023.

                                             WEINBERG, WHEELER,
                                             HUDGINS, GUNN & DIAL, LLC
                                             /s/ Patrick Moore
                                             Patrick B. Moore




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